                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 JOSHUA GARTON,

        Plaintiff,                                Case No. 3:21-cv-00338

 v.                                               Judge Aleta A. Trauger
                                                  Magistrate Judge Alistair E. Newbern
 W. RAY CHURCH, et al.,

        Defendants.


                                               ORDER

       The Court set a pre-settlement-conference telephone call with the Magistrate Judge on

August 1, 2023, at 10:00 a.m. Counsel for Defendants Crouch, Craig, and Vallee appeared.

Counsel for Plaintiff Joshua Garton did not.

       In the interest of judicial economy, the Court will not reset the telephone conference. The

settlement conference will begin at 10:00 a.m. on August 3, 2023.

       It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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